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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

____________________________________
                                    )
METROPOLITAN PROPERTY AND           )
CASUALTY INSURANCE                  )
COMPANY, et al.,                    )
                                    )
            Plaintiffs,             )
                                    )
                    v.              )                Civil Action No. 15-12939-LTS
                                    )
SAVIN HILL FAMILY                   )
CHIROPRACTIC, INC., et al.,         )
                                    )
            Defendants.             )
____________________________________)


                ORDER REGARDING IN CAMERA REVIEW OF CLAIM FILES

                                         October 4, 2018

Boal, M.J.

       On September 7, 2018, this Court issued an order on defendants Law Offices of Jeffrey S.

Glassman, LLC and Jeffrey S. Glassman, Esq.’s (the “Law Firm Defendants”) motion to compel.

Docket No. 796. The Court reserved ruling on some privilege issues and ordered the parties to

submit a proposal regarding in camera review of representative sample claim files. Id. at 3. The

parties filed their proposals on September 14, 2018. Docket No. 799. After review and

consideration of the parties’ proposals, the Court adopts the following protocol for in camera

review of representative claim files:

       1. 16 representative claim files shall be selected for in camera inspection;

       2. The Law Firm Defendants shall select 8 of them, at least 4 of which would be known

             through discovery to have involved an IMR by Michael Frustacci or Richard Cuomo;



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3. The Plaintiffs will select the other 8 claim files, at least 4 of which involved a

   redaction of material related to an IMR by Michael Frustacci or Richard Cuomo;

4. At least 4 of the claim files selected by the Plaintiffs shall involve files in which there

   has been a redaction or withholding of notes or memoranda by an SIU investigator

   concerning an interview of or statement by at least one witness that has not been

   otherwise memorialized in a signed statement or recording (these four files may

   overlap with the files involving an IMR by Michael Frustacci or Richard Cuomo, if

   such overlap exists);

5. For each of the 16 claim files, the Plaintiffs will provide to the Court a redacted and

   an unredacted copy of each selected claim file, and will send to the Law Firm

   Defendants a copy of the redacted versions of what is being submitted to the Court;

6. The parties will identify for the Court which 8 files have been selected by the

   Plaintiffs and which 8 have been selected by the Law Firm Defendants;

7. The selected claim files shall be limited to accident and claim dates preceding the

   commencement of this litigation;

8. The claim files selected by the Plaintiffs shall include material revealing the reason

   the file was referred to the SIU;

9. Plaintiffs shall submit to the Court and to the Law Firm Defendants a copy of those

   pages of the privilege log related to the files submitted for in camera review;

10. The files shall be provided to the Court no later than October 11, 2018.

So Ordered.

                                        /s/ Jennifer C. Boal
                                       JENNIFER C. BOAL
                                       UNITED STATES MAGISTRATE JUDGE



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